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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )               CASE NO. 8:06CR116
                                             )
              Plaintiff,                     )
                                             )
              vs.                            )                     ORDER
                                             )
CHARMAR BROWN,                               )
                                             )
              Defendant.                     )

       This matter is before the Court on three requests for transcripts/CDs filed by Audrey

L. Brown, a non-party (Filing Nos. 590, 591, 592).

       With respect to the request at Filing No. 590, Ms. Brown requests a CD of the trial

dates October 9 through October 11, 2007, and October 15 through 18, 2007. The request

is denied. Ms. Brown requests a CD, which is not available. However, if Ms. Brown

desires a written transcript, she may do so only if financial arrangements are previously

made with the court reporter, Brenda Fauber, tel. 661-7322. Ms. Brown is advised that the

cost of a written transcript is $3.65 per page, and the transcript would not be expedited.

       Regarding Filing No. 591, Ms. Brown requests an expedited transcript of opening

statements, closing arguments, and additionally the trial dates September 25 through 27,

2007, October 1-4, 2007, and October 22-25, 2007. A transcript will be provided only if Ms.

Brown makes prior financial arrangements with Ms. Fauber. The cost would be $3.65 per

page, and the transcript would not be expedited. Therefore, the request is granted insofar

as a transcript may be provided if the proper arrangements are made, and otherwise the

request is denied.
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      In Filing No. 592, Ms. Brown requests a transcript of pretrial proceedings on

September 19-20, 2006.1 On September 19, 2006, the Defendant, Charmar Brown, was

arraigned on the Third Superseding Indictment, and then a suppression hearing began.

The hearing continued on September 20, 2006. The Court assumes that Ms. Brown’s

request regards only the suppression hearing. The request is denied as moot. A transcript

of the suppression hearing has already been prepared and filed. (Filing Nos. 180, 181.)

A copy of the transcript may be obtained by purchase from Teresa L. Thomas, General

Reporting Service, 304 S. 13 th St., Lincoln, NE 68508, tel. 402-477-8425.

      IT IS ORDERED:

      1.     The request for a CD (Filing No. 590) filed by Audrey L. Brown, a nonparty,

             is denied. However, Ms. Brown may request a transcript by following the

             procedures described above;

      2.     The request for a transcript (Filing No. 591) filed by Audrey L. Brown, a

             nonparty, is granted insofar as a transcript may be provided if the described

             procedures are followed, and otherwise the request is denied; and

      3.     The request for a transcript (Filing No. 592) filed by Audrey L. Brown, a

             nonparty, is denied as moot, and Ms. Brown was directed to the appropriate

             source to obtain a copy.

      DATED this 7th day of November, 2007.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                United States District Judge


      1
        The request also includes September 21, 2006. However, no proceedings were
held on that date, with the exception of the arraignment of codefendant George W.
Dotson, on the Third Superseding Indictment. (Filing No. 171.) The Court assumes
that the inclusion of this date was an error.
